Case 2:18-cv-03893-RGK-AGR Document 91 Filed 07/30/19 Page 1of1 Page ID #:1120

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:18-cv-03893-RGK-AGR Date July 30, 2019

 

 

Title EDWARDO MUNOZ vy. 7-ELEVEN, INC.

 

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

Sharon L. Williams (not present) Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendants:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Re: Plaintiff’s Motion for Preliminary Approval of

Class Action Settlement (DE 85)

On July 18, 2019, the Court issued an Order re Plaintiff's Motion for Preliminary Approval of
Class Action Settlement. In that Order, the Court continued the hearing to allow the parties to file an
Addendum that cured the deficiency regarding language used in releasing claims.

On July 29, 2019, the parties timely filed their Addendum. Upon review of the parties’ filing, the
Court hereby GRANTS Plaintiff's Motion for Preliminary Approval, with the materials submitted in the
Addendum replacing the original items submitted with the Motion. In addition, the Court approves
Plaintiff's method and time frame for notifying Class members of the Settlement as set forth in the
Stipulation of Class Action Settlement. Steven L. Woodrow, Patrick H. Peluso, and Taylor T. Smith are
appointed as Class Counsel. Plaintiff is appointed as Class Representative. Kurtzman Carson
Consultants (KCC) is appointed as Settlement Administrator. The Final Approval Hearing is scheduled
for hearing on November 4, 2019, at 9:00 a.m.

IT IS SO ORDERED.

 

Initials of Preparer

 

 

CV-90 (06/04) CIVIL MINUTES - GENERAL Page 1 of 1
